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                               14
                                    Mahbobeh Razmara
                               15
                                                        UNITED STATES DISTRICT COURT
                               16                      CENTRAL DISTRICT OF CALIFORNIA
                               17 MAHBOBEH RAZMARA,                          Case No.:
                                  Individually and On Behalf of All
                               18 Others Similarly Situated,                 CLASS ACTION
                               19                Plaintiff,
                                                                             COMPLAINT FOR DAMAGES AND
                               20                         v.                 INJUNCTIVE RELIEF PURSUANT
                               21 KELLER WILLIAMS REALTY,                    TO THE TELEPHONE CONSUMER
                                  INC. d/b/a KELLER                          PROTECTION ACT, 47 U.S.C. §§
                               22 WILLIAMS,                                  227, ET SEQ.
                               23                Defendant.
                                                                             JURY TRIAL DEMANDED
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                                    CLASS ACTION COMPLAINT
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                                1                                       INTRODUCTION
                                2        1. Plaintiff MAHBOBEH RAZMARA (“Plaintiff”) brings this Class Action
                                3           Complaint for damages, injunctive relief, and any other available legal or
                                4           equitable remedies, resulting from the illegal actions of Defendant KELLER
                                5           WILLIAMS REALTY, INC. d/b/a KELLER WILLIAMS (“Defendant”) in
                                6           negligently and/or intentionally contacting Plaintiff on Plaintiff’s cellular
                                7           telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C.
                                8           §§ 227, et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
                                9           alleges as follows upon personal knowledge as to herself and her own acts
                               10           and experiences, and, as to all other matters, upon information and belief,
                               11           including investigation conducted by her attorneys.
                               12        2. “Voluminous consumer complaints about abuses of telephone technology –
                               13           for example, computerized calls dispatched to private homes – prompted
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                               14           Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct.
                               15           740, 744 (2012).
                               16        3. In enacting the TCPA, Congress intended to give consumers a choice as to
                               17           how creditors and telemarketers may call them, and made specific findings
                               18           that “[t]echnologies that might allow consumers to avoid receiving such
                               19           calls are not universally available, are costly, are unlikely to be enforced, or
                               20           place an inordinate burden on the consumer. TCPA, Pub. L. No. 102–243,
                               21           § 11. Toward this end, Congress found that:
                               22                 [b]anning such automated or prerecorded telephone calls
                                                  to the home, except when the receiving party consents to
                               23                 receiving the call or when such calls are necessary in an
                                                  emergency situation affecting the health and safety of the
                               24                 consumer, is the only effective means of protecting
                                                  telephone consumers from this nuisance and privacy
                               25                 invasion.
                               26           Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
                               27           WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings
                               28           on TCPA’s purpose).

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                                1        4. Congress also specifically found that “the evidence presented to the
                                2           Congress indicates that automated or prerecorded calls are a nuisance and an
                                3           invasion of privacy, regardless of the type of call . . .” Id. at §§ 12–13. See
                                4           also, Mims, 132 S. Ct. at 744.
                                5                                     JURISDICTION AND VENUE
                                6        5. This Court has federal question jurisdiction because this case arises out of
                                7           violation of federal law. See 47 U.S.C. §§ 227, et seq.
                                8        6. Venue is proper in the United States District Court for the Central District of
                                9           California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                               10           Plaintiff resides in the County of Los Angeles, State of California, which is
                               11           within this judicial district; (ii) the conduct complained of herein occurred
                               12           within this judicial district; and (iii) many of the acts and transactions giving
                               13           rise to this action occurred within this district because Defendant:
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                               14                 (a)    is authorized to conduct business in this district;
                               15                 (b)    does substantial business within this district;
                               16                 (c)    is subject to personal jurisdiction in this district because it has
                               17                        availed itself of the laws and markets within this district; and,
                               18                 (d)    the harm to Plaintiff occurred within this district.
                               19                                               PARTIES
                               20        7. Plaintiff is, and at all times mentioned herein, was a citizen and resident of
                               21           the County of Los Angeles, State of California.
                               22        8. Plaintiff is, and at all times mentioned herein, was a “person” as defined by
                               23           47 U.S.C. § 153 (39).
                               24        9. Plaintiff is informed and believes, and thereon alleges, that KELLER
                               25           WILLIAMS REALTY, INC. is, and at all times mentioned herein, was a
                               26           Texas corporation, and is a “person” as defined by 47 U.S.C. § 153 (39).
                               27
                               28

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                                1        10. Plaintiff alleges that at all times relevant herein Defendant conducted
                                2           business in the State of California and in the County of Los Angeles, within
                                3           this judicial district.
                                4                                     FACTUAL ALLEGATIONS
                                5        11. At no time has Plaintiff ever entered a business relationship with Defendant.
                                6        12. On or about June 17, 2017, Defendant began placing numerous telephone
                                7           calls to Plaintiff’s cellular telephone number ending in “7773.”
                                8        13. These telephonic communications were initiated from various telephone
                                9           numbers, including but not limited to the following: 310-909-3464, 818-
                               10           796-3583, 310-897-0762, 818-355 4906, 818-925-4309.
                               11        14. Upon answering these phone calls from Defendant, Plaintiff experienced a
                               12           long pause before a live agent came on the line.
                               13        15. On June 19, 2017, Plaintiff received four consecutive phone calls from
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                               14           Defendant at 8:01 AM, 10:29 AM, 12:21 PM, and 5:25 PM.
                               15        16. Out of frustration, Plaintiff requested for her husband to answer several of
                               16           the phone calls from Defendant, and Plaintiff’s husband asked Defendant to
                               17           stop calling.
                               18        17. Plaintiff added her cellular telephone number ending in “7773” to the Do
                               19           Not Call List on June 19, 2017. Plaintiff subsequently received a phone call
                               20           on July 20, 2017 from Defendant on a telephone number displayed as 310-
                               21           909-3464, which call was placed at 7:59 AM.
                               22        18. On or about June 19, 2017, Plaintiff answered a call on her cellular
                               23           telephone and handed the phone to her son who spoke with a live agent of
                               24           Defendant. Plaintiff’s son informed the agent that Plaintiff’s phone number
                               25           was recently registered on the Do Not Call List and that Plaintiff was
                               26           frustrated by all of the calls. The agent replied that Defendant uses a
                               27           computer system to dial, which receives new leads every morning.
                               28

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                                1        19. Upon information and belief, the calls described herein were transmitted
                                2           using an “automatic telephone dialing system” (“ATDS”), as defined by 47
                                3           U.S.C. § 227(a)(1), and prohibited by 47 U.S.C. § 227(b)(1)(A).
                                4        20. Defendant’s calls constituted calls that were not made for emergency
                                5           purposes, as defined by 47 U.S.C. § 227(b)(1)(A)(i).
                                6        21. Upon information and belief, Defendant placed calls to Plaintiff for the
                                7           purpose of soliciting Plaintiff’s business in relation to the sale of her home.
                                8        22. These telephone calls were unwanted by Plaintiff.
                                9        23. Defendant did not have prior express written consent to place these
                               10           solicitation calls to Plaintiff, or to place any calls to Plaintiff for any
                               11           purpose.
                               12        24. Upon information and belief, the ATDS used by Defendant has the capacity
                               13           to store or produce telephone numbers to be called, using a random or
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                               14           sequential number generator.
                               15        25. Upon information and belief, the ATDS used by Defendant also has the
                               16           capacity to, and does, dial telephone numbers stored as a list or in a database
                               17           without human intervention.
                               18        26. The telephonic communications by Defendant, or its agent(s), violated 47
                               19           U.S.C. § 227(b)(1).
                               20        27. Defendant’s calls were placed to a telephone number assigned to a paid
                               21           cellular telephone service pursuant to 47 U.S.C. § 227(b)(1).
                               22        28. Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion
                               23           of a legally protected interest in privacy, which is specifically addressed and
                               24           protected by the TCPA.
                               25        29. Plaintiff was personally affected by Defendant’s aforementioned conduct
                               26           because Plaintiff was frustrated and distressed that Defendant interrupted
                               27           Plaintiff with numerous unwanted automated calls to Plaintiff’s cellular
                               28           telephone, up to several times per day.

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                                1        30. Defendant’s calls forced Plaintiff and other similarly situated class members
                                2           to live without the utility of their cellular phones by occupying their cellular
                                3           telephone with one or more unwanted calls, causing a nuisance and lost
                                4           time.
                                5        31. Defendant’s call to Plaintiff’s cellular telephone number was unsolicited by
                                6           Plaintiff and was placed without Plaintiff’s permission or consent.
                                7                                CLASS ACTION ALLEGATIONS
                                8        32. Plaintiff brings this action on behalf of herself and on behalf of all others
                                9           similarly situated (the “Class”).
                               10        33. Plaintiff represents, and is a member of the Class, consisting of:
                               11                   All persons within the United States who received any
                                                    telephone call(s) from Keller William Realty, Inc. or its
                               12
                                                    agent(s) and/or employee(s), not for an emergency
                               13
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                                                    purpose, on said person’s cellular telephone, made
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                                                    through the use of any automatic telephone dialing
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                               14
                                                    system within four years prior to the filing of this
                               15                   Complaint.
                               16        34. Defendant and its employees or agents are excluded from the Class.
                               17           Plaintiff does not know the number of members in the Class, but believes the
                               18           Class members number in the thousands, if not more. Thus, this matter
                               19           should be certified as a Class action to assist in the expeditious litigation of
                               20           this matter.
                               21        35. Plaintiff and members of the Class were harmed by the acts of Defendant in
                               22           at least the following ways: Defendant, either directly or through its agents,
                               23           illegally contacted Plaintiff and the Class members via their cellular
                               24           telephones by using an ATDS, thereby causing Plaintiff and the Class
                               25           members to incur certain cellular telephone charges or reduce cellular
                               26           telephone time for which Plaintiff and the Class members previously paid,
                               27
                               28

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                                1           and by invading the privacy of said Plaintiff and the Class members.
                                2           Plaintiff and the Class members were damaged thereby.
                                3        36. This suit seeks only damages and injunctive relief for recovery of economic
                                4           injury on behalf of the Class, and it expressly is not intended to request any
                                5           recovery for personal injury and claims related thereto. Plaintiff reserves the
                                6           right to expand the Class definition to seek recovery on behalf of additional
                                7           persons as warranted, as facts are learned during further investigation and
                                8           discovery.
                                9        37. The joinder of the Class members is impractical and the disposition of their
                               10           claims in the Class action will provide substantial benefits both to the parties
                               11           and to the court. The Class can be identified through Defendant’s records or
                               12           Defendant’s agents’ records.
                               13        38. There is a well-defined community of interest in the questions of law and
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                               14           fact involved affecting the parties to be represented. The questions of law
                               15           and fact to the Class predominate over questions which may affect
                               16           individual Class members, including the following:
                               17           a)    whether, within the four years prior to the filing of this Complaint,
                               18                 Defendant or its agents initiated any telephonic communications to the
                               19                 Class (other than a message made for emergency purposes or made
                               20                 with the prior express consent of the called party) using any automatic
                               21                 dialing system to any telephone number assigned to a cellular phone
                               22                 service;
                               23           b)    whether Defendant can meet its burden of showing Defendant
                               24                 obtained prior express written consent;
                               25           c)    whether Defendant’s conduct was knowing and/or willful;
                               26           d)    whether Plaintiff and the Class members were damaged thereby, and
                               27                 the extent of damages for such violation; and
                               28

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                                1           e)    whether Defendant and its agents should be enjoined from engaging in
                                2                 such conduct in the future.
                                3        39. As a person that received at least one telephonic communication from
                                4           Defendant using an ATDS, without Plaintiff’s prior express written consent,
                                5           Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly
                                6           and adequately represent and protect the interests of the Class in that
                                7           Plaintiff has no interests antagonistic to any member of the Class.
                                8        40. Plaintiff and the members of the Class have all suffered irreparable harm as
                                9           a result of Defendant’s unlawful and wrongful conduct. Absent a class
                               10           action, the Class will continue to face the potential for irreparable harm. In
                               11           addition, these violations of law will be allowed to proceed without remedy
                               12           and Defendant will likely continue such illegal conduct. Because of the size
                               13           of the individual Class members’ claims, few, if any Class members could
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                               14           afford to seek legal redress for the wrongs complained of herein.
                               15        41. Plaintiff has retained counsel experienced in handling class action claims
                               16           and claims involving violations of the Telephone Consumer Protection Act.
                               17        42. A class action is a superior method for the fair and efficient adjudication of
                               18           this controversy. Class-wide damages are essential to induce Defendants to
                               19           comply with federal and California law. The interest of Class members in
                               20           individually controlling the prosecution of separate claims against
                               21           Defendants is small because the maximum statutory damages in an
                               22           individual action for violation of privacy are minimal. Management of these
                               23           claims is likely to present significantly fewer difficulties than those
                               24           presented in many class claims.
                               25        43. Defendant has acted on grounds generally applicable to the Class, thereby
                               26           making appropriate final injunctive relief and corresponding declaratory
                               27           relief with respect to the Class as a whole.
                               28

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                                1                                   FIRST CAUSE OF ACTION
                                2                             NEGLIGENT VIOLATIONS OF THE TCPA
                                3                                   47 U.S.C. §§ 227 ET SEQ.
                                4        44. Plaintiff incorporates by reference all of the above paragraphs of this
                                5           Complaint as though fully stated herein.
                                6        45. The foregoing acts and omissions by Defendant constitute numerous and
                                7           multiple negligent violations of the TCPA, including but not limited to each
                                8           and every one of the above-cited provisions of 47 U.S.C. §§ 227, et seq.
                                9        46. As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq.,
                               10           Plaintiff and the Class are entitled to an award of $500.00 in statutory
                               11           damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                               12        47. Plaintiff and the Class are also entitled to and seek injunctive relief
                               13           prohibiting such conduct in the future.
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                               14                                  SECOND CAUSE OF ACTION
                               15                 KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                               16                                   47 U.S.C. §§ 227 ET SEQ.
                               17        48. Plaintiff incorporates by reference all of the above paragraphs of this
                               18           Complaint as though fully stated herein.
                               19        49. The foregoing acts and omissions of Defendant constitute numerous and
                               20           multiple knowing and/or willful violations of the TCPA, including but not
                               21           limited to each and every one of the above-cited provisions of 47 U.S.C.
                               22           §§ 227, et seq.
                               23        50. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                               24           §§ 227, et seq., Plaintiff and the Class are entitled to an award of $1,500.00
                               25           in statutory damages for each and every violation, pursuant to 47 U.S.C.
                               26           § 227(b)(3)(B)&(C).
                               27        51. Plaintiff and the Class are also entitled to and do seek injunctive relief
                               28           prohibiting such conduct in the future.

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                                1                                    PRAYER FOR RELIEF
                                2         WHEREFORE, Plaintiff and the Class members pray for judgment as
                                3   follows against Defendant:
                                4         • certify the Class as requested herein;
                                5         • appoint Plaintiff to serve as the Class Representative in this matter;
                                6         • appoint Plaintiff’s Counsel as Class Counsel in this matter; and
                                7         • prove such further relief as may be just and proper.
                                8         In addition, Plaintiff and the Class members pray for further judgment as
                                9   follows against Defendant:
                               10               FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                               11                         THE TCPA, 47 U.S.C. §§ 227 ET SEQ.

                               12        • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                               13           Plaintiff seeks for herself and each Class member $500.00 in statutory
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                               14           damages, for each and every violation, pursuant to 47 U.S.C.
                               15           § 227(b)(3)(B);
                               16        • pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                               17           conduct in the future;
                               18        • prejudgment interest;
                               19        • attorney’s fees pursuant to the common fund doctrine;
                               20        • costs; and
                               21        • any other relief the Court may deem just and proper.
                               22         SECOND CAUSE OF ACTION FOR KNOWING/WILLFUL VIOLATION OF
                               23                         THE TCPA, 47 U.S.C. §§ 227 ET SEQ.

                               24        • As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                               25           § 227(b)(1), Plaintiff seeks for herself and each Class member $1,500.00
                               26           in statutory damages, for each and every violation, pursuant to 47 U.S.C.
                               27           § 227(b)(3)(B);
                               28

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                                1        • pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
                                2           conduct in the future;
                                3        • prejudgment interest;
                                4        • attorney’s fees pursuant to the common fund doctrine;
                                5        • costs; and
                                6        • any other relief the Court may deem just and proper.
                                7                                     TRIAL BY JURY
                                8      52. Pursuant to the seventh amendment to the Constitution of the United States
                                9         of America, Plaintiff is entitled to, and demands, a trial by jury.
                               10
                               11   Dated: June 23, 2017                          Respectfully submitted,
                               12                                                 KAZEROUNI LAW GROUP, APC
                               13
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                                                                                  By:    /s/ ABBAS KAZEROUNIAN
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